                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                    AT KNOXVILLE

 UNITED STATES OF AMERICA,                         )
                                                   )
               Plaintiff,                          )
                                                   )       No. 3:14-CR-85
 v.                                                )       (VARLAN/SHIRLEY)
                                                   )
 ROGER MOSER.                                      )
                                                   )
               Defendant.                          )


                                           ORDER

        This case is before the Court pursuant to 28 U.S.C. § 636 on Defendant’s Motion to

 Withdraw of Motion to Suppress, [Doc. 192], filed on September 18, 2014. Defendant filed a

 Motion to Suppress, [Doc. 143], on August 25, 2014. The Government, through Caryn L.

 Hebets, United States Attorney for the Eastern District of Tennessee, responded on September

 18, 2014. [Doc. 191]. A hearing was set before the undersigned on September 22, 2014 at 1:30

 p.m. to address Defendant’s Motion to Suppress.

        Defendant’s Motion to Withdraw of Motion to Suppress, [Doc. 192], is hereby

 GRANTED. Defendant’s Motion to Suppress, [Doc. 143], is withdrawn and the hearing to

 address this motion set for September 22, 2014 at 1:30 p.m. is hereby CANCELLED.

        IT IS SO ORDERED.
                                            ENTER:

                                                 s/ C. Clifford Shirley, Jr.
                                            United States Magistrate Judge




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